   Case 1:23-cr-00047-MHC-JEM Document 46 Filed 08/04/23 Page 1 of 1



                                       August 4, 2023

Honorable Judge Mark H Cohen
District Judge, United States District Court
1921 Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303-3309

Honorable Judge J. Elizabeth McBath
Magistrate Judge, United States District Court
2040 Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303-3309

       RE:     United States v. Kristopher Kneubuhler
               Case No. 1:23-cr-00047-MHC-JEM

Dear Judges, Courtroom Deputies and Clerks:

        As the attorney for the defendant in the above-referenced matter, I am writing to
request a Leave of Absence to add the periods as follows:

   •   September 22, 2023 (School Break);
   •   September 25, 2023 through September 29, 2023 (School Break);
   •   October 2, 2023 (School Break);
   •   October 6, 2023 and October 9, 2023 (ABCL Conference);
   •   October 20, 2023 (NACDL Conference & Mandatory Board Meeting);
   •   October 30, 2023 and October 31, 2023 (Personal).

       Please let me know if any additional information is required. Thank you for your
consideration in this matter.




                                      Respectfully submitted,

                                      s/Lawrence J. Zimmerman
                                      Lawrence J. Zimmerman
                                      Attorney for Defendant
                                      SBN: 785198
